                          Case
AO 106 (Rev. 0) Application for a2:22-mj-01186             Document
                                      Search Warrant requesting                  1 Filed 07/29/22
                                                                  $86$
                                                                      Mannion)                                   Page 1 of 22


                                        UNITED STATES DISTRICT COURT
                                                                      for the
                                                        Eastern District of Pennsylvania
                                                       __________ District   of __________

              In the Matter of the Search of                                  )
         (Briefly describe the property to be searched                        )
          or identify the person by name and address)                         )           Case No. 22-mj-1186
        A MOTOROLA SMART PHONE AND A PIECE OF                                 )
                      MAIL                                                    )
                                                                              )

                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
See Attachment A

located in the                Eastern             District of                  Pennsylvania                    , there is now concealed (identify the
person or describe the property to be seized):
   See Attachment B


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
              ✔u evidence of a crime;
               ✔
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                  Offense Description
            18 USC 1001, 1028, 1343,                     false statements, identity theft, wire fraud, and aggravated identity theft
            and 1028A(a)(1)

          The application is based on these facts:
        See attached Affidavit


          ✔
          u Continued on the attached sheet.
           u Delayed notice of       days (give exact ending date if more than 30 days:                                               ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                               /s/ Michael Runge
                                                                                                           Applicant’s signature

                                                                                              S/A MICHAEL RUNGE, AMTRAK OIG
                                                                                                           Printed name and title

Sworn to before me and signed in my presence.

Date:             07/29/2022                                                                                    /s/ Scott W. Reid
                                                                                                                Judge’s signature

City and state: Philadelphia, PA                                                               SCOTT W. REID, U.S. Magistrate Judge
                                                                                                           Printed name and title
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN THE MATTER OF THE SEARCH OF A
                                  Case No. 22-mj-1186
 MOTOROLA SMART PHONE AND A
 PIECE OF MAIL


                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

       I, Special Agent Michael Runge, being first duly sworn, hereby depose and state

as follows:

                   INTRODUCTION AND AGENT BACKGROUND

       1.      I have been a Special Agent of the National Railroad Passenger

Corporation ("NRPC," hereinafter, “Amtrak"), Office of Inspector General ("OIG") since

February 2018. I am currently assigned to Amtrak's OIG Office of Investigations,

responsible for conducting investigations of fraud, waste and abuse. I have gathered,

organized, and analyzed evidence that has led to the indictments and convictions of

individuals. During my law enforcement experience, I have conducted and been part of

complex fraud investigations. Through the course of the investigations, I have

conducted surveillance, utilized confidential informants/sources, written and executed

search warrants, served subpoenas, conducted interviews, and executed arrest warrants.

       2.      I am a “federal law enforcement officer” as defined by Fed. R. Crim. P.

41(a)(2)(C).

       3.      The facts in this affidavit come from my personal observations, my

training and experience, and information obtained from witnesses and other

investigative activities. This affidavit is intended to show that there is sufficient probable
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cause for the requested warrant and does not set forth all of my knowledge about this

matter.

       4.      I submit this affidavit in support of an application for a search warrant

pursuant to Rule 41 of the Federal Rules of Criminal Procedure. I request a search

warrant to examine the SUBJECT DEVICE—a Motorola smart phone, described more

fully below—and the SUBJECT MAIL PIECE, a piece of mail addressed to Glenn Ford,

also described more fully below. Both the SUBJECT DEVICE and the SUBJECT MAIL

PIECE were seized by law enforcement officers after arresting KOREY EDMOND WISE

pursuant to an arrest warrant issued by the Honorable Carol Sandra Moore Wells in or

about September 2020. The arrest warrant was issued after a grand jury sitting in this

district returned an indictment against WISE alleging wire fraud and aggravated

identity theft.

                                  SUBJECT OFFENSES

       5.      Based on my training and experience and the facts as set forth in this

affidavit, there is probable cause to believe that WISE has violated the following

statutes, and that the SUBJECT DEVICE and the SUBJECT MAIL PIECE contain

evidence, fruits, and instrumentalities of those violations (collectively, the “SUBJECT

OFFENSES”):

            a. 18 U.S.C. § 1001 (false statements);

            b. 18 U.S.C. § 1028 (identity theft);

            c. 18 U.S.C. § 1343 (wire fraud); and

            d. 18 U.S.C. § 1028A(a)(1) (aggravated identity theft).



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                          PROPERTY TO BE SEARCHED

      6.     The SUBJECT DEVICE is a Motorola Smart Phone, seized on or about

June 29, 2022 from the VEHICLE (defined below). The SUBJECT DEVICE is a

Motorola, G stylus, Comic emerald color as listed by Motorola, and the size stated by

Motorola is 169.54mm x 77.48mm x 9.35mm. At the bottom of the phone, the words

“TYPE: MC382” appear, as shown below. Due to some damage on the bottom of the

phone only a partial IMEI can be read, “IMEI:3566 (scratches and dent) 283423188.”




      7.     The SUBJECT MAIL PIECE is a piece of mail addressed to Glenn Ford at

2404 Silkwood Drive, Saint Louis, MO 63114-1967. The sender of the mail is Missouri

Department of Revenue Motor Vehicle Bureau, PO Box 100, Jefferson City, MO 65105-

0100. The SUBJECT MAIL PIECE was seized on or about June 29, 2022, from the

VEHICLE.




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                                  PROBABLE CAUSE

The Charged Scheme

       8.     On or about July 11, 2019, a grand jury sitting in this district returned an

indictment against KOREY WISE, alleging that WISE committed four counts of wire

fraud and three counts of aggravated identity theft. The Indictment is docketed at Crim.

No. 19-395, Doc. No. 1, and is incorporated by reference. According to the indictment,

WISE engaged in a fraudulent “phishing” scheme to obtain and use credit cards and

debit cards. WISE telephoned small businesses and individuals around the country,

including in the Eastern District of Pennsylvania, and used false pretenses to obtain

credit card and debit card numbers, associated mailing addresses, zip codes and other

related information (collectively, “credit card information”) from the owners of those

small businesses and individuals.

       9.     According to the Indictment, as well as records collected from common

carriers including Amtrak, Trailways, and Greyhound, between at least January 9, 2014,

and at least March 2018, WISE used fraudulent credit cards to purchase travel tickets on

various common carriers. He then resold those common carrier travel tickets to other

individuals and pocketed the proceeds.

       10.    Law enforcement officers interviewed several of the victims of WISE’s

scheme. Certain victims explained that the unauthorized purchases occurred after the

victim received a telephone call from a person fraudulently claiming to be a utility

representative attempting to collect an unpaid bill. Other victims received a telephone

call from a person fraudulently claiming to be an inspector from a government

regulatory board such as a health inspector or inspector of a state cosmetology board

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who demanded fee payment in conjunction with a bogus inspection. The victims

provided their credit card numbers to the purported utility representative or inspector.

      11.    Through investigation into these calls, law enforcement officers have

identified several telephone numbers, associated with mobile phone accounts, used to

facilitate the scheme. Examination of toll logs recorded by the wireless providers have

shown incoming calls to this district to telephone numbers of victims interviewed. These

incoming calls often correspond to fraudulent purchases of travel tickets.

The Identity Theft

      12.    According to the Indictment, as well as records collected from the State of

Missouri and the State of Louisiana, WISE has been operating under the alias Glenn

Tommon Ford for many years. According to Ford, his birthdate is November 11, 1975.

The Missouri Department of Transportation produced records showing that WISE had

obtained a non-driver’s license in the name of Ford as early as October 9, 2008. The

Louisiana Department of Transportation produced records showing that WISE had

obtained an identification card in or about November 2014, using the name Glenn

Tommon Ford. When WISE applied for the Louisiana identification card, he provided a

copy of the certificate of live birth for the real Glenn Tommon Ford.

      13.    In the course of the investigation into WISE’s scheme, the real Glenn

Tommon Ford testified before the grand jury. He testified that WISE had lived with

Ford’s grandparents for a period of time. While WISE was living with Ford’s

grandparents, Ford primarily lived elsewhere but he left some of his belongings at his

grandparents’ house. Ford testified that, although he never gave WISE access to his



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belongings or, in particular, his certificate of live birth, he had reason to believe that,

while he was away, someone had accessed his bedroom which contained his belongings.

       14.    WISE’s associate, COLBY DURAN FRAZIER, was also indicted by the

grand jury for engaging in a similar scheme. FRAZIER was arrested in February 2021

and began cooperating with the investigating agents. In a series of interviews, FRAZIER

confirmed that WISE had engaged in the phishing scheme as set forth above. FRAZIER

told investigators that he had observed WISE making phishing phone calls, and that

WISE had taught FRAZIER how to execute the phishing scheme. FRAZIER also

confirmed that WISE regularly used the alias GLENN TOMMON FORD.

Wise’s Lack of Legitimate Employment

       15.    Your affiant and other law enforcement have reviewed law enforcement

databases, including TLO, for information concerning WISE’s employment history.

Based on my training and experience, I know that law enforcement databases like TLO

typically contain evidence of legitimate employment, if a person has such legitimate

employment. Those databases returned no records for legitimate employment history or

connected businesses.

       16.    Additionally, your affiant has contacted agents of the U.S. Department of

Labor (“DOL”) for records showing WISE’s employment history. The U.S. Department

of Labor collects records showing wages paid across the United States. Based on my

training and experience, if WISE were legitimately employed, those entities would have




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records demonstrating such employment, based on the wages that would have been paid

to WISE. DOL found no legitimate sources of income in the name of WISE. 1

The Arrest

       17.     On or about June 29, 2022, law enforcement agents arrested WISE for the

crimes alleged in the Indictment against him. He was arrested while driving his White

Cadillac STS sedan (the “VEHICLE”), bearing Missouri license plate number JH7L0F,

which was parked in the parking lot at 602 NW 75th St STE A, Gainesville, FL 32607.

       18.     At the time of his arrest, WISE was carrying the SUBJECT DEVICE. WISE

confirmed that the SUBJECT DEVICE belonged to him. Law enforcement officers

executing the arrest warrant left the SUBJECT DEVICE in the VEHICLE. Law

enforcement officers then locked the VEHICLE but kept the keys.

       19.     At the time of his arrest, and while being processed at the police station,

law enforcement officers, including your affiant, asked WISE his name, and WISE

identified himself as Glenn Ford, and provided a birthdate of November 11, 1975. 2 There

is therefore probable cause to believe that WISE is still falsely identifying himself as




1DOL had records in the name of “Korey Wise,” but based on my review of those records, they
related to WISE’s son, who bears the same name. In particular, the records showed a date of
birth of July 20, 1996, which is WISE’s son’s birthdate. The records also showed that the income
had been earned worked at California and Nevada restaurants, at a time when WISE’s son lived
in those places, and WISE was apparently in Florida. DOL also had records in the name of Glenn
Ford, but, based on my review of those records, they related to the real Glenn Ford, and not
WISE. In particular, they showed employment at a trucking company. According to his grand
jury testimony, Glenn Ford is a truck driver.
2 Later, while in the custody of the U.S. Marshals for fingerprinting, I understand that WISE
identified himself as KOREY WISE. WISE also identified himself as KOREY WISE in court
during his initial appearance.

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Glenn Tommon Ford. There is also probable cause to believe that, when WISE identified

himself to law enforcement officers as Glenn Ford, and gave Ford’s birthdate, he

violated 18 U.S.C. § 1001.

       20.    At the time of his booking into jail, the booking officials conducted an

inventory search of WISE’s wallet, and found the following: (1) a social security card in

the name of Glenn Tommon Ford, which bears the real Glenn Tommon Ford’s social

security number; (2) two Louisiana identification cards bearing WISE’s photograph but

Ford’s name and date of birth; (3) a Bank of America debit card for an account ending in

x8943 in the name of Glenn Tommon Ford; and (4) a Visa debit card for an account

ending in x5155 in the name of Glenn Ford.

       21.    After WISE was booked into custody and refused to be interviewed, your

affiant returned to the VEHICLE and, looking through the window, your affiant

observed the SUBJECT DEVICE, along with a credit or debit card in the center console

of the VEHICLE. Your affiant also observed mail in the backseat of the VEHICLE.

       22.    There was probable cause to search the vehicle for evidence and fruits of

WISE’s criminal conduct. First, there was probable cause to believe that the SUBJECT

DEVICE was in the VEHICLE and, for the reasons set forth below, the SUBJECT

DEVICE contained evidence of WISE’s criminal conduct. Second, there was probable

cause to believe that the credit or debit card in the center console of the VEHICLE would

identify WISE either by his real name or by his assumed alias. Based on my training and

experience, and my investigation to date, there was also probable cause to believe that

the credit or debit card would contain the fruits of WISE’s ongoing fraud scheme. Third,

based on my training and experience, there was probable cause to believe that the

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VEHICLE and, in particular the glove box of the VEHICLE, contained evidence

identifying the owner of the car, including items like registration and proof of insurance,

which are typically carried in a VEHICLE. Fourth, based on my training and experience,

there was probable cause to believe that the mail in the back seat of the VEHICLE would

have been addressed to the recipient, which, in turn, would identify the occupant of the

VEHICLE. Finally, I had conducted surveillance of WISE for several days prior to the

arrest and had concluded that he had been partially living out of VEHICLE. I observed

him access the VEHICLE multiple times per day over the course of the several days in

order to get clothing and other necessities. Therefore, based on my training and

experience, there was probable cause to believe that the VEHICLE contained evidence

identifying the occupant.

       23.     Upon searching the VEHICLE, your affiant observed in the center console

of the VEHICLE a handwritten note on the back of a dry-cleaning receipt. The note

contained credit/debit card numbers and corresponding addresses. The dry-cleaning

receipt was in the name of K.G., who, according to law enforcement databases and

interviews conducted in the course of the investigation, is WISE’s cousin. Although your

affiant did not seize the piece of paper, your affiant photographed it. The photograph

appears below:




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       24.     Based on my training and experience, there is probable cause to believe

that these credit or debit card numbers were obtained fraudulently and/or possessed

with fraudulent intent. First, it is atypical for a user of a legitimate credit or debit card to

store the relevant information in handwritten form on the back of a dry-cleaning receipt.

Second, the handwritten information included on the receipt is all of the information

that a fraudulent user would need to make use of the credit or debit card. Third, the

addresses listed along with the credit or debit cards are in Wisconsin and, based on my

investigation, WISE has no connection to Wisconsin. To the contrary, at the time of his

arrest he appeared to have been living, at least partially, out of his car in Florida.




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       25.     Based on having found these handwritten credit or debit card numbers,

there is probable cause to believe that WISE continued to engage in the fraud scheme

until his arrest on June 29, 2022.

       26.     In searching the VEHICLE, your affiant also found in the glove box the

SUBJECT MAIL PIECE and a manilla folder containing documents relating to the

ownership of the VEHICLE. Among other things, the folder contained a bill of sale

showing the VEHICLE had been purchased on or about May 5, 2022, for a sum of

$5,000. The purchaser of the VEHICLE was listed on the bill of sale as Glenn Ford, at

the address of 2404 Silkwood Drive, St. Louis, MO. Your affiant also found in the

manilla folder a receipt for payment of $490.22 to the Missouri Motor Vehicle Point of

Sale Overland Licensing Office. There was also a receipt for the registration of the

VEHICLE in the sum of $78.50, in the name of Glenn Ford, at the Silkwood Drive

address. There is another May 5, 2022, receipt for $401.40 for an original-non-

negotiable salvage title for the VEHICLE. Given the evidence that WISE lacks legitimate

employment, there is probable cause to believe that he purchased the VEHICLE and

paid the associated costs using fraudulently obtained funds.

       27.     In searching the VEHICLE, your affiant also found the SUBJECT DEVICE

and the SUBJECT MAIL PIECE. There is probable cause to believe that both the

SUBJECT DEVICE and the SUBJECT MAIL PIECE contain evidence, fruits, and

instrumentalities of crimes under investigation.




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             PROBABLE CAUSE TO SEARCH THE SUBJECT DEVICE

Probable Cause

       28.     Based on my knowledge, training, and experience, I know that electronic

devices, like the SUBJECT DEVICE, can store information for long periods of time.

Similarly, things that have been viewed via the Internet are typically stored for some

period of time on the device. Even though some of the crimes under investigation were

committed many years ago, there is probable cause to believe that information relating

to those offenses could be recovered from the SUBJECT DEVICE. Based on my training

and experience, mobile phones such as the SUBJECT DEVICE are often backed up to a

central location. When a smart phone is replaced with a newer model, the new smart

phone is typically repopulated with the information stored at the central location, so

information can be maintained on the smart phone and at the central location for many

years. Even information that has been deleted can sometimes be recovered with

forensics tools.

       29.     As further described in Attachment B, this application seeks permission to

locate not only electronically stored information that might serve as direct evidence of

the crimes described on the warrant, but also forensic evidence that establishes how the

SUBJECT DEVICE was used, the purpose of its use, who used it, and when. There is

probable cause to believe that this forensic electronic evidence might be on the Device

for the following reasons.

       30.     As explained herein, information stored within the SUBJECT DEVICE

may provide crucial evidence of the “who, what, why, when, where, and how” of the



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criminal conduct under investigation, thus enabling the United States to establish and

prove each element or alternatively, to exclude the innocent from further suspicion.

      31.     In my training and experience, information stored within a smart phone

like the SUBJECT DEVICE (e.g., registry information, communications, images and

movies, transactional information, records of session times and durations, internet

history, and anti-virus, spyware, and malware detection programs) can indicate who has

used or controlled the smartphone. This “user attribution” evidence is analogous to the

search for “indicia of occupancy” while executing a search warrant at a residence. The

existence or absence of anti-virus, spyware, and malware detection programs may

indicate whether the smartphone was remotely accessed, thus inculpating or

exculpating the smartphone.

      32.     There is probable cause to believe that this “user attribution” information

will be found in the SUBJECT DEVICE because, based on my training and experience,

one of the primary functions of a smart phone like the SUBJECT DEVICE is to

communicate with others. In communicating with others, the user of the SUBJECT

DEVICE will sometimes identify himself. There is probable cause to search the written

communications on the SUBJECT DEVICE, including emails and text messages, to find

out how the user of the SUBJECT DEVICE signed those written communications, and to

find out how others communicating with the user addressed their written

communications to the user. The user attribution information found in the SUBJECT

DEVICE is especially useful in this investigation given that WISE has for years used, and

recently provided to federal law enforcement officers, an alias. The user attribution data

on the SUBJECT DEVICE will assist law enforcement officers in proving the true

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identity of WISE and the extent to which WISE has fraudulently used the alias Glenn

Ford.

        33.     Based on my training and experience, smart phones like the SUBJECT

DEVICE typically contain contact lists, logs of telephone calls, and other similar

information. There is probable cause that such contact lists, telephone logs, and other

similar information will assist law enforcement in confirming the identity of the user of

the SUBJECT DEVICE. In particular, law enforcement will be able to review the

telephone logs and contact lists to determine whether the contacts contained in the

SUBJECT DEVICE are contacts with whom WISE is known to have associated.

Likewise, the telephone logs and contact lists and other information may assist law

enforcement officers in identifying co-conspirators in, and victims of, WISE’s criminal

conduct.

        34.     Based on my training and experience and my physical examination of the

SUBJECT DEVICE, there is probable cause to believe it has a camera, and therefore the

ability to take and store photographs and videos. There is also probable cause to believe

that photographs and videos stored on the SUBJECT DEVICE show images of WISE,

which would be evidence that he was the user of the SUBJECT DEVICE.

        35.     Further, smart phone activity can indicate how and when the smart phone

was accessed or used. For example, as described herein, smart phones typically contain

information that log: user account session times and durations, activity associated with

user accounts, electronic storage media that connected with the computer, and the IP

addresses through which the smart phone accessed networks and the internet. Such

information allows investigators to understand the chronological context of smart

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phone access, use, and events relating to the crime under investigation. Additionally,

some information stored within the smart phone may provide crucial evidence relating

to the physical location of other evidence and the suspect. For example, images stored

on a smart phone may both show a particular location and have geolocation information

incorporated into its file data. Such file data typically also contains information

indicating when the file or image was created. The existence of such image files, along

with external device connection logs, may also indicate the presence of additional

electronic storage media (e.g., a digital camera or other cellular phone with an

incorporated camera). The geographic and timeline information described herein may

either inculpate or exculpate the smart phone user.

       36.     Last, information stored within a smart phone may provide relevant

insight into the smart phone user’s state of mind as it relates to the offense under

investigation. For example, information within the smartphone may indicate the

owner’s motive and intent to commit a crime (e.g., internet searches indicating criminal

planning), or consciousness of guilt (e.g., running a “wiping” program to destroy

evidence on the smart phone or password protecting/encrypting such evidence in an

effort to conceal it from law enforcement).

       37.     WISE’s lack of legitimate employment history in combination with the

credit or debit card numbers and other personal identifying information found in the

VEHICLE suggest that he is generating at least some income through a fraud scheme

similar to the one that he was previously charged with. Based on my training and

experience and previous investigation into WISE, individuals engaged in such fraud



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schemes frequently use their smart phones to contact victims and otherwise perpetrate

the fraud scheme.

Examination Procedure

       38.     Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I

am applying for would permit the examination of the SUBJECT DEVICE consistent with

the warrant. The examination may require authorities to employ techniques, including

but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the device to human inspection in order to determine whether it is

evidence described by the warrant.

       39.     Because this warrant seeks only permission to examine a device already in

law enforcement’s possession, the execution of this warrant does not involve the

physical intrusion onto a premises. Consequently, I submit there is reasonable cause for

the Court to authorize execution of the warrant at any time in the day or night

         PROBABLE CAUSE TO SEARCH THE SUBJECT MAIL PIECE

       40.     There is also probable cause to believe that the SUBJECT MAIL PIECE

contains evidence of the offenses under investigation. In particular, in light of the fact

that the SUBJECT MAIL PIECE was addressed to Glenn Ford but in the possession of

WISE, there is probable cause to believe that the SUBJECT MAIL PIECE will provide

evidence about the extent to which WISE has fraudulently used the alias Glenn Ford.

       41.     Additionally, based on the return address of the SUBJECT MAIL PIECE,

there is probable cause to believe that it was sent from the Missouri Department of

Revenue, Motor Vehicle Bureau (“MVB”). Having reviewed the MVB’s website, there is

probable cause to believe that the contents of the SUBJECT MAIL PIECE relate to

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motor vehicle licensing, registration, or titling. Such information will assist law

enforcement officers in determining what vehicle was associated with the fraudulent

identity of Glenn T. Ford, and what documentation was provided to the MVB in support

of the licensing, registration, or titling. Additionally, in light of the fact that the

SUBJECT MAIL PIECE was found in the VEHICLE, based on my training and

experience, there is probable cause to believe that the SUBJECT MAIL PIECE relates to

the VEHICLE, and may contain evidence linking WISE to the VEHICLE.

                                       CONCLUSION

       42.     I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the SUBJECT DEVICE and the SUBJECT MAIL PIECE

described in Attachment A to seek the items described in Attachment B.

                                                 Respectfully submitted,

                                                 /s/ Michael Runge
                                                 Michael Runge
                                                 Special Agent
                                                 Amtrak, Office of Inspector General



Subscribed and sworn to before me on July 29, 2022.


/s/ Scott W. Reid______________________________
HONORABLE SCOTT W. REID
UNITED STATES MAGISTRATE JUDGE




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                                 ATTACHMENT A
                             (Property to be Searched)
      The property to be searched is a Motorola Smart Phone (the “SUBJECT

DEVICE”), a Motorola, G stylus, Comic emerald color as listed by Motorola, the size

stated by Motorola is 169.54mm x 77.48mm x 9.35mm. At the bottom of the phone, the

words “TYPE: MC382” appear. Due to some damage on the bottom of the phone only a

partial IMEI can be read, “IMEI:3566 (scratches and dent) 283423188.” THE SUBJECT

DEVICE is currently located at 10 G St NE, Washington, D.C. 2002. This warrant

authorizes the forensic examination of the SUBJECT DEVICE for the purpose of

identifying the electronically stored information described in Attachment B.

      The property to be searched is also a piece of mail addressed to Glenn Ford at

2404 Silkwood Drive, Saint Louis, MO 63114-1967 (the “SUBJECT MAIL PIECE”). The

sender of the mail is Missouri Department of Revenue Motor Vehicle Bureau, PO Box

100, Jefferson City, MO 65105-0100. The SUBJECT MAIL PIECE was seized on or

about June 29, 2022, from a White Cadillac STS bearing license plate number JH7L0F.
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                                  ATTACHMENT B
                                (Items to be Seized)

      The items to be seized are the following records on the SUBJECT DEVICE:

          a. All records relating to the identity of the user of the SUBJECT DEVICE,

             such as logs, phonebooks, saved usernames and passwords, documents,

             photographs, videos, written communications, and browsing history;

          b. All records relating to the use of the identity of Glenn Tommon Ford, or

             any variation thereof;

          c. All records relating to the use of the identity of Korey Edmond Wise, or

             any variation thereof; and

          d. All records relating to personal identifying information of another,

             including credit and debit card numbers.

      The items to be seized are the following records in the SUBJECT MAIL PIECE:

          a. All records relating to the use of the identity of Glenn Tommon Ford, or

             any variation thereof; and

          b. All records relating to the use of the identity of Korey Edmond Wise, or

             any variation thereof.

      As used above, the terms “records” and “information” include all of the foregoing

items of evidence in whatever form and by whatever means they may have been created

or stored, including any form of computer or electronic storage (such as flash memory

or other media that can store data) and any photographic form.




                                            2
                               Case 2:22-mj-01186 Document 1 Filed 07/29/22 Page 21 of 22
$2 5HY 6HDUFKDQG6HL]XUH:DUUDQW



                                            81,7('67$7(6',675,&7&2857
                                                                      IRUWKH
                                                          Eastern District of Pennsylvania
                                                         BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                   ,QWKH0DWWHURIWKH6HDUFKRI
              (Briefly describe the property to be searched
               or identify the person by name and address)                      &DVH1R   22-mj-1186

            A MOTOROLA SMART PHONE AND A
                    PIECE OF MAIL
                                                 SEARCH AND SEIZURE WARRANT
7R      $Q\DXWKRUL]HGODZHQIRUFHPHQWRIILFHU
           $QDSSOLFDWLRQE\DIHGHUDOODZHQIRUFHPHQWRIILFHURUDQDWWRUQH\IRUWKHJRYHUQPHQWUHTXHVWVWKHVHDUFK
RIWKHIROORZLQJSHUVRQRUSURSHUW\ORFDWHGLQWKH                           Eastern 'LVWULFWRI          Pennsylvania
(identify the person or describe the property to be searched and give its location)

  See Attachment A




        ,ILQGWKDWWKHDIILGDYLW V RUDQ\UHFRUGHGWHVWLPRQ\HVWDEOLVKSUREDEOHFDXVHWRVHDUFKDQGVHL]HWKHSHUVRQRUSURSHUW\
GHVFULEHGDERYHDQGWKDWVXFKVHDUFKZLOOUHYHDO(identify the person or describe the property to be seized)

    See Attachment B




         YOU ARE COMMANDEDWRH[HFXWHWKLVZDUUDQWRQRUEHIRUH                   August 8, 2022        (not to exceed 14 days)
       u LQWKHGD\WLPHDPWRSP ✔
                                                u DWDQ\WLPHLQWKHGD\RUQLJKWEHFDXVHJRRGFDXVHKDVEHHQHVWDEOLVKHG

        8QOHVVGHOD\HGQRWLFHLVDXWKRUL]HGEHORZ\RXPXVWJLYHDFRS\RIWKHZDUUDQWDQGDUHFHLSWIRUWKHSURSHUW\WDNHQWRWKH
SHUVRQIURPZKRPRUIURPZKRVHSUHPLVHVWKHSURSHUW\ZDVWDNHQRUOHDYHWKHFRS\DQGUHFHLSWDWWKHSODFHZKHUHWKH
SURSHUW\ZDVWDNHQ
        7KHRIILFHUH[HFXWLQJWKLVZDUUDQWRUDQRIILFHUSUHVHQWGXULQJWKHH[HFXWLRQRIWKHZDUUDQWPXVWSUHSDUHDQLQYHQWRU\
DVUHTXLUHGE\ODZDQGSURPSWO\UHWXUQWKLVZDUUDQWDQGLQYHQWRU\WRWKHGXW\PDJLVWUDWH

     u 3XUVXDQWWR86&D E ,ILQGWKDWLPPHGLDWHQRWLILFDWLRQPD\KDYHDQDGYHUVHUHVXOWOLVWHGLQ86&
  H[FHSWIRUGHOD\RIWULDO DQGDXWKRUL]HWKHRIILFHUH[HFXWLQJWKLVZDUUDQWWRGHOD\QRWLFHWRWKHSHUVRQZKRRUZKRVH
SURSHUW\ZLOOEHVHDUFKHGRUVHL]HG(check the appropriate box)
     u IRU         GD\V(not to exceed 30) u XQWLOWKHIDFWVMXVWLI\LQJWKHODWHUVSHFLILFGDWHRI                                   


'DWHDQGWLPHLVVXHG              07/29/2022 10:46 am                                             /s/ Scott W. Reid
                                                                                                    Judge’s signature

&LW\DQGVWDWH              Philadelphia, Pennsylvania                             Honorable Scott W. Reid, U.S. Magistrate Judge
                                                                                                  Printed name and title
                               Case 2:22-mj-01186 Document 1 Filed 07/29/22 Page 22 of 22
$2 5HY 6HDUFKDQG6HL]XUH:DUUDQW 3DJH

                                                                    Return
&DVH1R                                 'DWHDQGWLPHZDUUDQWH[HFXWHG        &RS\RIZDUUDQWDQGLQYHQWRU\OHIWZLWK
   22-mj-1186
,QYHQWRU\PDGHLQWKHSUHVHQFHRI

,QYHQWRU\RIWKHSURSHUW\WDNHQDQGQDPHRIDQ\SHUVRQ V VHL]HG




                                                                 Certification


        ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQYHQWRU\LVFRUUHFWDQGZDVUHWXUQHGDORQJZLWKWKHRULJLQDOZDUUDQWWRWKH
GHVLJQDWHGMXGJH



'DWH
                                                                                        Executing officer’s signature


                                                                                           Printed name and title
